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FILED

UNITED STATES DISTRICT COURT OCT -4 2020

FOR THE DISTRICT OF COLUMBIA
Clerk, U.S. District ang
. Bankruptcy Courts

JIMMIE McNAIR, )
)

Plaintiff, )

)

Vv. ) Civil Action No. 20-2185 (UNA)

)

REI CO-OP, et al., )
)

Defendants. )

MEMORANDUM OPINION

The Court is mindful that complaints filed by pro se litigants are held to less stringent
standards than those applied to formal pleadings drafted by lawyers. See Haines v. Kerner, 404
U.S. 519, 520 (1972), Even pro se litigants, however, must comply with the Federal Rules of
Civil Procedure. Jarrell v. Tisch, 656 F. Supp. 237, 239 (D.D.C. 1987). Rule 8(a) of the Federal
Rules of Civil Procedure requires that a complaint contain a short and plain statement of the
grounds upon which the Court’s jurisdiction depends, a short and plain statement of the claim
showing that the pleader is entitled to relief, and a demand for judgment for the relief the pleader
seeks. Fed. R. Civ. P. 8(a). The purpose of the minimum standard of Rule 8 is to give fair notice
to the defendants of the claim being asserted, sufficient to prepare a responsive answer, to
prepare an adequate defense and to determine whether the doctrine of res judicata applies.

Brown v. Califano, 75 F.R.D. 497, 498 (D.D.C. 1977).

Plaintiff alleges that a female employee of the RE] CO-OP store in Washington, D.C.
was “assaulting [his] integrity” when she approached him “alleging [he] had stolen something,
which [he] did.” Compl. at 1. He further alleges that, when he attempted to return an item to the

REI CO-OP store in Rockville, Maryland, an employee assaulted him by snatching a bag from
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his hands and pointing a finger in his face. See id. Plaintiff asserts that such treatment violated
company policy, and he demands an award of $5 million. /d@. The complaint does not state a
basis for this Court’s subject matter jurisdiction or include a short and plain statement showing
that plaintiff is entitled to relief. For these reasons, the complaint fails to comply with Rule 8(a),

and the Court will dismiss it without prejudice.

An Order consistent with this Memorandum Opinion is issued separately.

DATE: September 30, 2020 /s/
RUDOLPH CONTRERAS
United States District Judge
